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                              UNITED STATES DISTRICT COURT

                              MIDDLE DISTRICT OF LOUISIANA



   PRESS ROBINSON, EDGAR CAGE,
   DOROTHY NAIRNE, EDWIN RENE
   SOULE, ALICE WASHINGTON, CLEE
   EARNEST LOWE, DAVANTE LEWIS,
   MARTHA DAVIS, AMBROSE SIMS,
   NATIONAL ASSOCIATION FOR THE                         Civil Action No.3:22-cv-00211-SDD-SDJ
   ADVANCEMENT OF COLORED PEOPLE
   (“NAACP”) LOUISIANA STATE
   CONFERENCE, AND POWER COALITION
   FOR EQUITY AND JUSTICE,                              MOTION TO ENROLL
                   Plaintiffs,                          ARIELLE B. MCTOOTLE
                                                        PRO HAC VICE
                    v.

   KYLE ARDOIN, in his official capacity as
   Secretary of State for Louisiana.

                          Defendant.




                NOW INTO COURT, come Plaintiffs, Press Robinson, Edgar Cage,

Dorothy Nairne, Edwin Rene Soule, Alice Washington, Clee Earnest Lowe, Davante

Lewis, Martha Davis, Ambrose Sims, National Association for the Advancement of

Colored People (“NAACP”) Louisiana State Conference, and Power Coalition for

Equity and Justice, who respectfully move this Honorable Court pursuant to Local

Rule 83(b)(8) for an order permitting ARIELLE B. MCTOOTLE to appear pro hac

vice as counsel for Robinson Plaintiffs in this case.

                In support of this motion, Plaintiffs, through undersigned counsel

state as follows:

   1.   ARIELLE B. MCTOOTLE is an associate of the law firm of Paul, Weiss,
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                                                                                   2


   Rifkind, Wharton & Garrison LLP;

2. ARIELLE B. MCTOOTLE is a member of good standing in the Bar of the

   State of New York. Her New York State Bar Registration Number is

   5993217. There have been no disciplinary proceedings or criminal charges

   instituted against her. In support of this motion, attached are a Declaration

   and Certificate of Good Standing for ARIELLE B. MCTOOTLE.

3. The mailing address for ARIELLE B. MCTOOTLE is Paul, Weiss, Rifkind,

   Wharton & Garrison LLP, 1285 Avenue of the Americas, New York, New

   York 10019.

4. The telephone number for ARIELLE B. MCTOOTLE is 212-373-3948.

5. The facsimile number for ARIELLE B. MCTOOTLE is 646-871-0075.

6. The e-mail address for ARIELLE B. MCTOOTLE is

   amctootle@paulweiss.com.

7. The name and office address of the Louisiana attorney with whom ARIELLE

   B. MCTOOTLE is associated for the purpose of this case is John Adcock,

   Adcock Law LLC, 3110 Canal Street, New Orleans, Louisiana 70119. Ms.

   McTootle seeks admission pro hac vice in this case to represent Plaintiffs,

   Press Robinson, Edgar Cage, Dorothy Nairne, Edwin Rene Soule, Alice

   Washington, Clee Earnest Lowe, Davante Lewis, Martha Davis, Ambrose

   Sims, National Association for the Advancement of Colored People

   (“NAACP”) Louisiana State Conference, and Power Coalition for Equity and

   Justice, in association with Mr. Adcock, a resident attorney admitted to

   practice in this Court.
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                                                                                    3


8. ARIELLE B. MCTOOTLE is familiar with the Federal Rules of Civil

   Procedure and agrees to abide by those rule and the Local Rules of this Court.



   Date: January 10, 2024                     Respectfully submitted,

                                              By: /s/John Adcock
                                              John Adcock
                                              Adcock Law LLC
                                              L.A. Bar No. 30372
                                              3110 Canal Street
                                              New Orleans, LA 70119
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                                             Counsel for Robinson Plaintiffs
